           Case 2:12-cr-00187-TLN Document 110 Filed 04/15/15 Page 1 of 3


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5    Attorney for Defendant
     MANOLO REYES
6

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8
                                     UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         No. 2:12-cr-187 TLN
12
                        Plaintiff,                     STIPULATION AND ORDER FOR
13                                                     CONTINUANCE OF SENTENCE AND
             v.                                        SCHEDULE FOR DICLOSURE
14
     MANOLO REYES,
15

16                      Defendant.
17

18
             IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Assistant United States Attorney Paul Hemesath, defendant MANOLO REYES
20
     through herundersigned counsel Dwight Samuel that the scheduled sentencing date and schedule for
21
     dates be changed to the following:
22

23           Judgement and sentencing date be changed from May 14, 2015 to July 9, 2015, at 9:30 a.m.

24           The following schedule for disclosure of pre-sentence report and for filing of objections to
25   the presentence report it is agreed to be as follows:
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     ///
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     ///
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         Case 2:12-cr-00187-TLN Document 110 Filed 04/15/15 Page 2 of 3


1           Reply or statement of non-opposition                                June 25, 2015
2           Motion for correction of Pre-Sentence report filed                  June 18, 2015
3
            Pre-Sentence report filed                                           June 11, 2015
4
            Counsel’s written objections to the pre-sentence to probation       June 4, 2015
5
            Proposed Pre-sentence report disclosed to counsel                   May 21, 2015
6

7           This stipulation is made because MANOLO REYES proposed presentence report is not yet

8    completed at this date. In addition Mr. Samuel has a prepaid vacation scheduled. Defendant is aware

9    of the delay and the reasons for such a delay and is in agreement.
10
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation, vacate
11

12   the present date for sentence of May 14, 2015 and adopt the above enumerated shedule for disclosure

13   and response to the Pre-sentence report with sentencing reset to July 9, 2015.

14
            So stipulated,
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16          Date: April 14, 2015                                  /s/ Dwight M. Samuel
                                                                 Dwight M. Samuel
17
                                                                 Attorney for Defendant
18                                                               MANOLO REYES

19
            Date: April 14, 2015                                 /s/ Paul Hemesath
20                                                               Assistant U.S. Attorney
                                                                 Paul Hemesath
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         Case 2:12-cr-00187-TLN Document 110 Filed 04/15/15 Page 3 of 3


1                                                    ORDER
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3           The Court, having received, read, and considered the stipulation of the parties, and good

4    cause appearing therefrom, adopts the stipulation of the parties in its entirety and it is so order

5           Based on the stipulation of the parties and the recitation of facts contained therein, the Court
6    finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
7
     necessary for effective preparation, taking into account the exercise of due diligence. The Court finds
8
     that the ends of justice to be served by granting the requested continuance outweigh the best interests
9
     of the public and the defendants in a speedy trial.
10

11          It is further ordered that the May 14, 2015 date for sentencing shall be continued to July 9,

12   2015, at 9:00 a.m.

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            IT IS SO ORDERED.
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     DATED: April 15, 2015
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                                                               Troy L. Nunley
18                                                             United States District Judge

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